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12                                 UNITED STATES DISTRICT COURT

13                               NORTHERN DISTRICT OF CALIFORNIA

                                       SAN FRANCISCO DIVISION
14

15    RICHARD DENT, et al.                              ) CASE NO. 3:14-CV-02324 WHA
                                                        )
16                           Plaintiffs,                ) NOTICE OF APPEAL AND
                                                        ) REPRESENTATION STATEMENT
17           v.                                         )
                                                        )
18    NATIONAL FOOTBALL LEAGUE, a New                   )
      York unincorporated association,                  )
19                                                      )
                             Defendant.                 )
20                                                      )

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25      Notice of Appeal and Representation Statement
        Case No. 3:14-CV-02324 WHA
             Case 3:14-cv-02324-WHA Document 221 Filed 02/23/22 Page 2 of 4



 1   NOTICE IS HEREBY GIVEN THAT all plaintiffs in the above-captioned case hereby appeal

 2   to the United States Court of Appeals for the Ninth Circuit from this Court’s December 17,

 3   2021 entry of judgment and February 18, 2022 order on plaintiffs’ motion for relief from

 4   judgment.

 5   Dated: February 23, 2022           Respectfully Submitted,

 6                                              /s/
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                                        J.D. Hill, Keith Van Horne, Ron Pritchard, James
                                        McMahon, and Marcellus Wiley
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25     Notice of Appeal                                                                   1
       Case No. 3:14-CV-02324 WHA
               Case 3:14-cv-02324-WHA Document 221 Filed 02/23/22 Page 3 of 4



 1
                                REPRESENTATION STATEMENT
 2
            Pursuant to Rule 12(b) of the Federal Rules of Appellate Procedure and Circuit Rule 3-
 3
     2(b), Plaintiffs-Appellants submit this Representation Statement. The following list identifies
 4
     all parties to the action and their respective counsel by name, firm, address and telephone
 5
     number.
 6
            Parties                                             Counsel
 7
     Plaintiffs Richard Dent, Jeremy Newberry,       Silverman Thompson Slutkin & White
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23                                                   Nathan J. Oleson

24

25     Notice of Appeal                                                                       2
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          Case 3:14-cv-02324-WHA Document 221 Filed 02/23/22 Page 4 of 4



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25   Notice of Appeal                                                        3
     Case No. 3:14-CV-02324 WHA
